        Case 1:25-cv-00385-ABJ             Document 36      Filed 03/01/25       Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  HAMPTON DELLINGER,

                                  Plaintiff,

  v.                                                     Civil Action No. 1:25-cv-00385-ABJ

  SCOTT BESSENT, et al.,


                                  Defendants.




  DEFENDANTS’ MOTION TO STAY THE COURT’S ORDER PENDING APPEAL
       Plaintiff filed this action on February 10, 2025, ECF No. 1, challenging the President’s decision

to remove him as Special Counsel on February 7, 2025. Plaintiff also moved for a temporary

restraining order, ECF No. 2. Later that day, the Court entered an “administrative stay,” ordering

Plaintiff to be reinstated as Special Counsel through midnight on February 13. See February 10, 2025

Minute Order. On February 12, 2025, the Court granted Plaintiff’s motion for a temporary restraining

order, requiring that Plaintiff “shall continue to serve as the Special Counsel” and that Defendants

“may not deny him access to the resources or materials of that office or recognize the authority of any
other person as Special Counsel.” Order, ECF No. 14.

       The parties agreed to consolidate the Court’s consideration of the Plaintiff’s request for a

preliminary injunction with the merits, see February 15, 2025 Minute Order, and the parties cross-

moved for summary judgment. See ECF Nos. 22, 23. The Court held a hearing on February 26, 2025,

the day the temporary restraining order expired. Later that day, the Court issued an order extending

the temporary restraining order for three days, through March 1, 2025. See ECF No. 27. On March

1, 2025, the Court issued a memorandum opinion and order granting Plaintiff’s cross-motion for

summary judgment and denying Defendants’ motion for summary judgment. See ECF Nos. 32, 33.


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        Case 1:25-cv-00385-ABJ            Document 36         Filed 03/01/25       Page 2 of 5




Specifically, the order declared that Plaintiff “is the Special Counsel of the Office of Special Counsel”

and that “any recognition of an Acting Special Counsel in his place is unlawful.” ECF No. 33 at 1-2.

The order also enjoined Defendants Bessent, Gor, Gorman, Kammann, and Vought, stating that they

“must recognize [P]laintiff’s title and position as Special Counsel of the Office of Special Counsel;

they must not obstruct or interfere with his performance of his duties; they must not deny him the

authority, benefits, or resources of his office; they must not recognize any Acting Special Counsel in

his place; and they must not treat him in any way as if he has been removed, or recognize any other

person as Special Counsel or as the head of the Office of Special Counsel, unless and until he is
removed from office in accordance with 5 U.S.C. §1211(b).” Id. at 2.

        This relief constitutes an extraordinary intrusion into the President’s authority. Accordingly,

Defendants have now appealed the Court’s order and intend to request a stay pending appeal from

the United States Court of Appeals for the D.C. Circuit. Out of an abundance of caution to ensure

compliance with Federal Rule of Appellate Procedure 8(a) (“A party must ordinarily move first in the

district court for . . . a stay of the judgment or order of a district court pending appeal.”), Defendants

respectfully move the Court to stay its order pending appeal.

        “[T]he factors regulating the issuance of a stay are . . . (1) whether the stay applicant has made

a strong showing that he is likely to succeed on the merits; (2) whether the applicant will be irreparably

injured absent a stay; (3) whether issuance of the stay will substantially injure the other parties

interested in the proceeding; and (4) where the public interest lies.” Hilton v. Braunskill, 481 U.S. 770,

776 (1987). Here, these factors weigh decisively in favor of a stay.

        First, Defendants have made a “strong showing” that they are likely to succeed on the merits.

The Supreme Court has made clear—twice, and recently—that Article II precludes Congress from

placing limits on the President’s authority to remove principal officers of the United States who serve

as sole heads of an Executive Branch agency. Collins v. Yellen, 594 U.S. 220 (2021); Seila Law LLC v.

CFPB, 591 U.S. 197 (2020); see also Dellinger v. Bessent, No. 25-5028, 2025 WL 559669, at *15 (D.C. Cir.

Feb. 15, 2025) (Katsas, J., dissenting) (“Congress cannot constitutionally restrict the President’s power

to remove the Special Counsel” because the Special Counsel “undoubtedly wields executive power.”).

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        Case 1:25-cv-00385-ABJ             Document 36          Filed 03/01/25       Page 3 of 5




On that basis, President Biden in 2021 fired the single head of the Social Security Administration

without cause. Rodriguez v. SSA, 118 F.4th 1302, 1313-14 (11th Cir. 2024) (upholding President’s

ability to fire head of SSA without cause); Kaufmann v. Kijakazi, 32 F.4th 843, 848-49 (9th Cir. 2022)

(same). In removing Plaintiff as the head of OSC, another Executive Branch agency with a single

head, the President merely exercised the same authority that President Biden did in removing the

Social Security Commissioner and that the Supreme Court recognized as lawful in Seila Law and Collins.

        In addition, “[a]n injunction preventing the President from firing an agency head—and thus

controlling how he performs his official duties—is virtually unheard of.” Dellinger, 2025 WL 559669,
at *14 (Katsas, J., dissenting). The relief entered by this Court “necessarily targets the president—the

only official with the statutory and constitutional authority to appoint, remove, and supervise the

Special Counsel.” Id. at *13 n.2. It also exceeds the scope of the Court’s equitable powers. Federal

courts’ equitable authorities are those traditionally available to a court sitting in equity at the Founding,

Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308, 318 (1999), and the Supreme

Court has long held that a court cannot, “by injunction, restrain an executive officer from making a

wrongful removal of a subordinate appointee, nor restrain the appointment of another.” White v. Berry,

171 U.S. 366, 377 (1898). And the declaratory judgment entered in this case is “essentially an equitable

cause of action” because it has “virtually the same practical impact as a formal injunction would.”

Samuels v. Mackell, 401 U.S. 66, 70, 72 (1971).

        Second, the balance of equities and public interest overwhelmingly favor a stay pending appeal.

See Nken v. Holder, 556 U.S. 418, 435 (2009) (noting that these factors merge in cases involving the

government). As a result of the Court’s order, a person the President has chosen to remove from

office is exercising executive power over the President’s objection, a harm that is transparently

irreparable. Indeed, Plaintiff has already filed multiple administrative actions before the Merit Systems

Protection Board (MSPB) challenging executive agencies’ firings of probationary employees. See U.S.

Office of Special Counsel, Special Counsel Dellinger Statement on Request that MSPB Stay Terminations of




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          Case 1:25-cv-00385-ABJ           Document 36         Filed 03/01/25       Page 4 of 5




Probationary Employees (Feb. 24, 2025). 1 An MSPB member has granted the requested stays, according

“[d]eference” to the Special Counsel’s “initial determination.” Stay Order at 3, Special Counsel ex rel.

John Doe v. Department (MSPB Feb. 25, 2025). 2 Plaintiff then announced: “These stays represent a

small sample of the probationary employees who have been fired recently so our work is far from

done.” U.S. Office of Special Counsel, MSPB Grants Stays of Probationary Employee Terminations (Feb.

25, 2025). 3

          Conversely, Plaintiff has not established that he will suffer irreparable harm if the Court’s

order is stayed pending appeal. Challenges to removals have historically been litigated through suits

for back pay, not reinstatement. See, e.g., Humphrey’s Executor v. United States, 295 U.S. 602, 618 (1935).

OSC’s ability to function could be accomplished by means other than reinstating Plaintiff—namely,

the appointment of a different individual as Special Counsel. And reinstating Plaintiff would

potentially void all actions taken by him as Special Counsel while the Government seeks further review

of this case. See Collins, 594 U.S. at 259 (private parties may be entitled to a remedy when an

unconstitutional removal restriction “inflict[s] compensable harm,” such as if “the President had

attempted to remove [an agency head] but was prevented from doing so by a lower court decision”).

          For these reasons, the Court should grant a stay of its order pending resolution of Defendants’

appeal.



Dated: March 1, 2025                                     Respectfully submitted,

                                                         YAAKOV M. ROTH
                                                         Acting Assistant Attorney General

                                                         CHRISTOPHER R. HALL
                                                         Assistant Branch Director



1
    https://osc.gov/News/Pages/25-22-Stay-Request-Probationary-Employees.aspx
2

https://osc.gov/Documents/PPP/Formal%20Stays/Order%20on%20Stay%20Request%20(Redact
ed).pdf
3
  https://osc.gov/News/Pages/25-23-Stays-Granted-Probationary-Terminations.aspx
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Case 1:25-cv-00385-ABJ   Document 36    Filed 03/01/25      Page 5 of 5



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